













NUMBER 13-04-00541-CV



COURT OF APPEALS



THIRTEENTH DISTRICT OF TEXAS



CORPUS CHRISTI - EDINBURG 


______________________________________________________________


RUBEN ROMERO D/B/A R &amp; R CONSTRUCTION,	Appellant,

v.



ELSA STATE BANK &amp; TRUST CO.,	Appellee.

_____________________________________________________________


On appeal from the 92nd District Court


of Hidalgo County, Texas.


______________________________________________________________


MEMORANDUM OPINION


	

Before Justices Yañez, Rodriguez, and Benavides


Memorandum Opinion Per Curiam


	This appeal was abated by this Court on January 20, 2005, due to the bankruptcy
of one of the parties to this appeal.   See 11 U.S.C. § 362; see generally Tex. R. App. P.
8.  Since the abatement there has been no activity in this appeal.  On April 22, 2009, the
Court ordered the parties to file an advisory regarding the status of the appeal and, if
applicable, a motion to reinstate the appeal or a motion to dismiss the appeal.  The order 
notified the parties that failure to respond to the order would result in reinstatement and
dismissal of the appeal for want of prosecution.  

	The parties have failed to respond.  Accordingly, we reinstate and dismiss the
appeal for want of prosecution.  See Tex. R. App. P. 42.3(b).


									PER CURIAM


Memorandum Opinion delivered and 

filed this 28th day of May, 2009. 





	


